JPM FORM 1A
DOCKET ENTRIES

JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO, 911 In re First Federal Savings and Loan Assoc. of Niles, Mich.

 

 

 

 

 

 

82/06/04 - MOTION, BRIEF, SCHEDULE OF CASES, EXHIBITS, CERT. OF SVC.--
Standard Federal Savings and Loan Assoc. and Federal
Savings and Loan Ins. Corp. (eaf )

SUGGESTED TRANSFEREE DISTRICT: W.D. Mich.

SUGGESTED TRANSFEREE JUDGE: (eaf )

82/21/06 APPEARANCES -- J. Stephen Walker, Esq. for Lehman Gov't Sec., Inc.;
Donald S. Young, Esq. for Federal Savings and Loan Ins., Corp. and

Standard Federal Savings and Loan Aseoc.; Catherine A. Ludden, Esq.

for Paine Webber Real Estate Sec., Inc. and Paine, Webber, Jackson

& Curtis Inc.; W. Michael Drake, Esq. for Bevill, Bresler &

Schulman, Inc., Bevill, Bresler & Schulman Gov't Sec., Inc. and

Bevill, Beeseler & Schulman Asset Mgmt, Corp.; Ronald S. Herzog,Esq.

for Thomson McKinnon Sec., Inc.; Steven S. Radin, Edq. for

defts. Thompson, Peace, Warren, Swinehart, Halbritter, Holland,

Doepker, Tyler and Parnell; David W. Crooks, Esq. for Umic, Inc.

Umic Gov't Sec., Inc., Marcus, Stowell & Beye, Marcus, Stowell

& Beye Gov't Sec., Inc. and Marcus, Stowell & Bey Sec., Inc.;

Keith F. Bode, Esq. for Oppenheimer Gov't Sec., Inc.; Richard D.

Weinberg, Esq. for McKeige & Co., Inc.; Stephen A. Marshall, Esq.

for Cantor, Fitzgerald Agency Corp. (eaf)

82/06/22 APPEARANCE -- Harold C. Hirshman, Esq. for Coopers & Lybrand. (eaf)

82/06/23 APPEARANCE -- BRUCE H. SCHNEIDER, ESQ. for Robert E. Bean;
Donald L. Boyer; Ralph L. Peterson; Donald R. Groenleer (ds)

82/06/24 JOINDER IN MOTION, SVC. -- Defts. Thompson, Peace, Warren,
Swinehart, Halbritter, Holland, Doepker, Tyler

& Parnell. (eaf )

82/06/2 RESPONSE, MEMORANDUM, CERT. OF SVC., AFFIDAVIT OF

CATHERINE A. LUDDEN, EXHIBITS -- Paine Webber Real Estate
Securities Inc., and Paine, Webber, Jackson & Curtis,
Inc. (eaf)

82/06/24 APPEARANCE -- Philip T. Carter, Esq. for Aetna Casualty & Surety
Co. (eaf)

82/06/24 NOTICE, RESPONSE, BRIEF, CERT. OF SVC. -- Lehman Gov't
Securities, Inc. (eaf )

82/06/25 5 RESPONSE, CERT. OF SVC. ~~ Aetna Casualty & Surety Co. (eaf)

82/06/25 6 MEMORANDUM, CERT. OF SVC. -- McKeige & Co., Inc. (eaf)
82/06/28 | APPEARANCE -- Bruce H. Schneider, Esq. for Robert L. Landgraf
82/07/02! 7 REPLY BRIEF, W/EXHIBITS A - C, AND CERT. OF SERVICE --
Standard Federal Savings & Loan Assoc. and Federal

Savings and Loan Ins. Corp. (cds)

 

 

 
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DOCKET ENTRIES

JUDICIAL PANEL ON MULYIDISSR ICT LITIGATION

 

 

 

 

 

AFFIDAVIT IN SUPPORT OF MOTION, CERT. OF SVC. -- Defts.
Bean, Boyer, Peterson and Groenleer. (eaf)

LETTER -—- Notification of Additional Action
(FSLIC v. G. Adrian Thompson, S.D. N.Y., 82 Civ 811) --
pltfs. Fed. Savings & Loan Ins. Corp. -- w/svc. (emh)

RESPONSE (to Pleading No. 9) -- Interested Party~ <.\3 » Thomps an
(Defts. in 82 Civ 811) -- w/ Exhibit & cert. of svc. Cem)

LETTER -- Notification of Additional Action --
FSLIC v. James R. Yocum, et al., W.D. Mich., K-82-220 CA8&
filed by pltfs. FSLIC -- w/svc. (emh)

| RESPONSE -- (Interested Party) ICON Group, Inc. --
to Pleading No. 9 -- w/Exhibit and cert. of svc. (emh)

HEARING ORDER -- Setting motion to. transfer A-1 thur A-14

; for hear Panel hearing in Oklahoma City, Oklahoma on
September 23, 1982 (ds)
| LETTER -- G.A. Thompson & Co., Inc. and majority of de-

fendants in a potential tag-along action Federal Savings
& Loan Ins. Corp.:v. G.A. Thompson & Co., Inc., et al.,

S.D.N.Y., C.A. No. 82-Civ-11 -- Request for Oral Argument
at 9/23/82 hearing w/svc. (ds)

|HEARING APPEARANCES -- Donald S. Young, Esq. for Fed. Sav. and Loan

Ins. Corp. and Standard Fed. Sav. and Loan assoc.; Catherine A.

Ludden, Esq. for Paine, Webber, Jackson & Curtis Inc. and Paine
Webber Real Estate Sec.; Jeffrey L. Zivyak, Esq. for G. Adrian
Thompson, G.A. Thompson & Co., Inc., G.A. Thompson Sec. Corp.;
G.A. Thompson Group, Inc.; Glara Laughlin Travel Services, Inc.
and Ridgeway Ltd. Partnership No. 19; Harold C. Hirshman, Esq. for
Coopers & Lybrand. (eaf)

WAIVERS OF ORAL ARGUMENT -- Defts. Bean, Boyer, Peterson and
Groenleer; Defts. Thompson, Peace, Warren, Swinehart, Halbritter,
Holland, Doepker, Tyler and Parnell; Umic, Inc., et al. and
Marcus, Stowell, & Boye, et al.; McKeige & Co., Inc.; Cantor,
Fitzgerald Agency Corp.; Benill Bressler & Schulman, et al.;
Aetna Casualty and Surety Co.; ThomsonMcKinnon Sec. Inc.;
Oppenheimer Govt' Sec., Inc.; and Lehman Gov't Sec. Inc. (eaf)

CONSENT OF TRANSFEREE DISTRICT -- Signed by Chief Judge
Wendell Miles (cds)

TRANSFER ORDER -- Transferring A-14 and A-15 to the Western
District of Michigan with A-1 through A-13 which are
pending there and assigning the actions to the Honorable
Benjamin F. Gibson -- NOTIFIED INVOLVED JUDGES, CLERKS
AND COUNSEL (cds)

 
PML FORM 1A
DOCKET ENTRIES
JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

. ol11l-- In re First Federal Savings & Loan Assoc. of
Niles, Michigan

 

 

 

 

Pleading Description

 

 

 

86/01/10 SUGGESTION FOR REMAND -~ A-14 and A-15 -~- signed by Judge
Benjamin F. Gibson (W.D. Michigan) dated 12/16/85

86/01/10 ; CONDITIONAL REMAND ORDERS FILED TODAY -- A-14 Paine Webber
Real Estate Sec., Inc. v. Standard Federal Savings & Loan
Assoc., et al., W.D. Mich., C.A. No. K82-361-CA (S.D. N.Y.,
C.A. No. 81-Civ-6421) and A-15 Federal Savings & Loan
Insurance Corp. v. G. Adrian Thompson, et al., W.D. Mich.,
C.A. No. K82-360-CA (S.D. N.Y., C.A. No. 82-Civ-811(WK)) --
Notified involved counsel and judge (rh)

86/01/28 CONDITIONAL REMAND ORDERS FINAL TODAY -- (A-14) Paine Webber
Real Estate Sec., Inc. v. Standard Federal Savings & Loan
Assoc., et al., W.D. Mich., K82-361-CA (S.D.N.Y.,
81-Civ-6421); (A-15) Federal Savings & Loan Ins. Corp. v. G.
Adrian Thompson, et al., W.D. Mich., K82-360-CA (S.D.N.Y.,
82-Civ-811(WK)) -- NOTIFIED INVOLVED JUDGE AND CLERKS (cds)

 

 

 
JPML Form 1
®

Revised: 8/78
DOCKET NO. 511 -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

CAPTION: In re First Federal Savings and Loan Assoc. of Niles, Mich.

 

 

 

SUMMARY OF LITIGATION
Hearing Dates Orders Trans feree

 

 

9/23/82

 

 

Dates Filed Type Citation District Name of Judge . Assigned From

October 28, 1982 TO unpublished |W.D.Michigan Benjamin F. Gibson

L-46

 

 

 

Special Transferee Information

 

DATE CLOSED:

 
JPML FORM 1

DOCKET NO.

511 --

LISTING OF INVOLVED ACTIONS

| HONORABLE .BENJAMIN F, GIBSON
| WESTERN DISTRICT OF MICHIGAN

In re First Federal Savings and Loan Assoc. of Niles, Mich.

 

 

Intra-
Office
Number

Caption

District
and
Wwudge

Civil
Action
Number

Transfer
Date

Docket
Number

TransfereaDate of
Dismissal
or Remand

 

Lehman Gov't Securities,

Niles, Mich., et al.
Hederal Savings and Loan Ins.

Lehman Gov't Sec., Inc., et

Federal Savings & Loan Ins.
Bevill, Bresler & Schulman,

Federal Savings & Loan Ins.
Paine, Webber,
et al.

Federal
Cantor,

Savings & Loan Ins.

Federal
Thomson

Savings & Loan Ins.
McKinnon Sec.,

Federal
Westcap

Savings & Loan Ins.
Gov't Sec., Inc.,

Savings & Loan Ins.
& Co., Inc., et al.

Federal
Mc Keige

Federal
Umic, Inc.,

Savings & Loan Ins.
et al.

Federal Savings & Loan Ins.

 

Inc.
First Fed. Savings & Loan Assoc.

Jackson & Curtis,

Inc.,

Ve

Corp. Ve
al.

Corp. V.

W.D.Mich
Gibson

W.D.Mich
Gibson

W.D.Mich

Inc.,etal®Bibson

Corp. V.
Inc.

Corp. v.

Fitzgerald Agency Corp.,etal.

Corp. v.
et al.

Corp. v.

et al.

Corp.

Corp.

Corp.

Marcus, Stowell & Beye, et al.

W.D.Mich
Gibson

W.D.Mich
Gibson

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Gibson

W.D Mich
Gibson

 

, K81-151-CA8

| K81-179-CA8

» K81-182-CA8

| K81-183-CA8

} K81-220-CA8

} K81-266-CA8

 

» K81-129-CA8}

K81-265-CA

K81-291-CA8|

 

 

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JBML FORM 1 Cas @MOL No. pil Document 1 Filed 06/03/15. Page 6 of 13 5
Listing of Involved Actions -- p.
DOCKET NO. 511 —~. In re First Federal Savings and Loan Assoc. of Niles, Mich.
Intra- District Civil Date of
Office and Action TransferffransfereeDismissal
Number Caption Judge Number Date Pocket No.pr Remand Misc.
A-11 | Federal Savings & Loan Ins. Corp. v. | W.D.MICH.K81-339-Cag pn Pogs ts
Oppenheimer Gov't Sec., Inc., et al. | Gibson
A-12 Federal Savings & Loan Ins. Corp. v. | W.D.Mich.K82-01-CA8 ‘3/4 BD
Coopers & Lybrand
A-13 Federal Savings & Loan Ins., Corp. v.|W.D.Mich. K82-152-CA 1)/ 19/9Sh

The Aetna Casualty & Surety Co.

A-14 | Paine Webber Real Estate Sec., Inc. v}S.D.N.Y|81-Civ. 642] 16/28/82 |KO
— Standard Federal Savings & Loan Griesa
Assoc., et al.

| nf fe3/8eR
A-15 | Federal Savings & Loan Insurance Corp.§.D.N.Y.| 82 Civ 811(Wk) 3/5 Mei 31° %
~. ve G. Adrian Thompson, et al. Knapp 0/2 2 |v
XYZ-16 | Federal Savings & Loan Insurance Corp.W.D.Mich}|K-82-220 CAB ‘ > 1h
ve. James R. Yocum, et al. KSB ESPRD
cunts ee een wines gies cum eae cyl ce fl agent cee catten w anaeefne wees ef ee - cep enn cco
Lon f ) a
Per AISE m= BRGY KV2) 7 16 (5
XYZ-17 The Aetna Casualty and Surety Co. W.D.Michk83-279 CA8 [oles
v. Lawrence P. Sundblad, et al.
. 5 (32) shy
XYZ-18 Robert E. Bean, et al. v. Standard W.D.Mich K82-428CA8 : 15

Federal Savings and Loan Assn., et al4

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JPML Form 4

ATTORNEY SERVICE LIST
JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO. 511°--- IN RE FIRST FEDERAL SAVINGS AND LOAN ASSOC. OF NILES, MICH.

 

 

 

LEHMAN GOVERNMENT SECURITIES,
(A-1)

J. Stephen Walker, Esquire
Jenner & Block
One IBM Plaza
Chicago, Illinois

INC.

60611

FEDERAL SAVINGS AND LOAN INSURANCE
CORP. (A-2, A-3, A-4, A-5, A-6,
A-7, A-8, A-9, A-10, A-11, A-12,A-13,
A-15) STANDARD FEDERAL SAVINGS
AND LOAN ASSOCIATION

Donald S. Young, Esquire

Dykema, Gossett, Spencer, Goodnow
& Trigg

35th Floor

400 Renaissance Center

Detroit, Michigan 48243

PAINE WEBBER REAL ESTATE SECURITIES

INC. (A-14)
PAINE, WEBBER, JACKSON & CURTIS
INC. .

 

Catherine A. Ludden, Esquire

Gaston, Snow Beekman & Bogue

14 Wall Street

New York, New York 10005 ..___._. -

BEVILL, BRESLER & SCHULMAN, INC.
BEVILL, BRESLER & SCHULMAN GOVERNMENT
SECURITIES, INC.

BEVILL, BRESLER & SCHULMAN ASSET
MANAGEMENT CORP
W. Michael Drake, Esquire
Drake & Larson, P.A.
6750 France Avenue South
Suite 216
Minneapolis, Minnesota 55435-1985
‘THOMSON MCKINNON SECURITIES INC.
Ronald S. Herzog, Esquire
Hall, McNicol, Hamilton, Clerk
& Murray

16th Floor
220 East 42nd Street

New York, New york 10017

--Néw York, New York

~ David W. Crooks, Esquire ~~~

 

~JAMES E. THOMPSON, WILLIAM D. PEACE,
. RICHARD B. WARREN,‘ LEO G. SWINEHART,
“THEODORE L. HALBRITTER, DWIGHT

‘HOLLAND, “BERNARD. E. DOEPKER, TAYLOR

~TYLER AND JOHN G. PARNELL

Steven S. Radin, Esquire
Stroock & Stroock & Lavan
61 Broadway

10006

UMIC, INC. | :

UMIC GOVERNMENT SECURITIES,

MARCUS, STOWELL & BEYE

MARCUS, STOWELL & BEYE GOVERNMENT
SECURITIES, INC.

MARCUS, STOWELL & BEYE SECURITIES
INC.

INC.

Warner, Norcross & Judd
900 Old Kent Building
Grand Rapids, Michigan 49503

OPPENHEIMER GOVERNMENT SECURITIES,
INC.

Keith F. Bode, Esquire

Jenner & Block

One IBM Plaza

Chicago, Illinois 60611

MCKEIGE & CO,., INC.

Richard D. Weinberg, Esquire

Shereff, Friedman, Hoffman
& Goodman

919 Third Avenue

New York, New York 10022

ee
CANTOR, FITZGERALD AGENCY CORP.
Stephen A. Marshall, Esquire
Rubin, Baum, Levin, Constant &
Friedman
645 Fifth Avenue

New York, New York 10022

 
Case MDL No. 511 Document1 Filed 06/03/15 Page 8 of 13
JPML FORM 4A -- Continuation :

Panel Attorney Service List ~~ Pp. 2

DOCKET NO. 5il -- IN RE FIRST FEDERAL SAVINGS AND LOAN ASSOC, OF NILES, MICH.

 

\. ROBERT L. LANDGRAF

SROBERT r OER os COOPERS & LYBRAND
\RALPA L " PETERSON » Harold C. Hirshman, Esq.
\\ DONALD R. GROENLEER Sonnenschein, Carlin, Nath &

 

 

 

 

Bruce H. Schneider, Esq. Rosenthal
Stroock & Stroock & Lavan 8000 Sears Tower
61 Broadway Chicago, Ill. 60606
New York, New York
RUTHANN ROBINSON | THE AETNA CASUALTY AND SURETY CO.
MARILYN eA NDB A Philip Carter, Esq.
EN ton Es DAD Foster, Swift, Collins & Coey

~ at q ae, 313 S. Washington Square
Ryan, McQuillan, VanderPloeg & ~ Lansing, Michigan 48933

Fette (Noe App. Rec'd)
811 Ship Street
P.O. Box og . vege
St. Joseph, Mi : ICON GROUP, INC.

° Phy Michigan 49085 ' Eisenberg, Honig, Meyer
& Fogler

270 Madison Avenue
New York, New York 10016

G. ADRIAN THOMPSON

G. A. THOMPSON & CO., INC.

G. A. THOMPSON SECURITIES CORP.

G. A. THOMPSON ASSOCIATES, INC.

G. A. THOMPSON GROUP, INC.

CLARA LAUGHLIN TRAVEL SERVICES, INC.
RIDGEWAY LIMITED PARTNERSHIP NO. 109
Katz, Robinso, Brog & Seymour

10 East 40th Street

WESTCAP GOVERNMENT SECURITIES, New York, New York 10016
INC.
Lawrence G. Campbell, Esquire .
Dinkinson, Wright, Moon, JAMES ooops ad Lane
VanDusen & Freeman (No App. 801 Mocking oe 50067
800 First National Bldg. Rec'd) Marietta, GA
Detroit, Michigan 48226

—

BRUCE M. GIACOMA

Stephen Wasinger, Esquire
Honigman, Miller, (No App. Rec'd)
Schwartz & Cohn

2290 First National Bldg.
Detroit, Michigan 48226

 

 

 
JPML FORM 3
P- 1

COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET No, 511 -- In re First Federal Savings and Loan Assoc. of Niles, Mich.

Name of Part Named as Party in Following Actions ———__

First Federal Savings &
Loan Assoc. of Niles, MI

Standard Federal Savings
& Loan Assoc.

 

Lehman Gov't Securities,
Inc.

James R. Yocum

Robert E. Bean

James E. Thompson

Ruthann Robinson

Robert L. Landgraf

 
Ted L. Halbritter
(Theodore)

Dwight Holland

Taylor Tyler

Bernar

Richard B. Warren

Bevill, Bresler & Schu
Inc.

Bevill, Bresler &
Schulman Gov't Securities
Inc. .

Vv , esler
Asset Management Corp.

Paine, Webber, Jackson
& Curtis, Inc.

Paine Webber Real Estate
Securities, Inc.

 
JPML FORM 3

b.

COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO, 511 -- In re First Fed. Savings & Loan Assoc. of Niles,

Name of Part
Cantor, Fitzgerald Agency
Corp.

Lawrence P. Sundblad

Marilyn Swartz

Thomson McKinnon Securities
Inc.

Westcap Gov't Securities,

Inc.

Ralph L. Peterson

McKeige & Co., Inc.

Bruce M. Giacoma

Umic Gov't Securities, Inc.

Marcus, Sauipe, Lee, & Beye

Named as Part

in Following Actions

Mich.

 
 

Core Soeweiiies, inc.
£ . A ad rian (Pernpoon.

Marcus, Stowell &
Beye Securities, Inc.

Marcus, Stowell & Beye,

Inc,

Oppenheimer Gov't
Securities, Inc.

Coopers & Lybrand

The Aetna Casualty and
Surety Co.

Donald L. Boyer

Donald R. Groenleer

GA. Thompson + Ca.,Tne

GA The MP sen Secur; tes
Cop.

G.A. Thompson Grou pylnc.

J aMe § E, "Ny pStp

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COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

pocket no. SM -- Dn ae Jurot eral dlawengo + kon Qaaer. uf Lore Tack,

Name of Part Named as Par in Following Actions

6. A. Thompsor Associates
Tre.

Leen Group / Done.

Clara Laugh lia Travel
Services, Inc.

Rielg e way Limited
Pactnersh'p No. 109

 
